Case 2:10-md-02179-CJB-DPC Document 11876-12 Filed 11/20/13 Page 1 of 3




                    Exhibit K
           Case 2:10-md-02179-CJB-DPC Document 11876-12 Filed 11/20/13 Page 2 of 3


Godfrey, Richard C.

From:                  Brian Barr [BBarr@levinlaw.com]
Sent:                  Wednesday, March 06, 2013 4:34PM
To:                    Sally_Shushan@laed.uscourts.gov; 'Ben_AIIums@laed.uscourts.gov
Cc:                    SHERMAN@hhklawfirm.com; Jim Roy; Godfrey, Richard C.; Bloom, Wendy L. ;
                       *mark. Holstein@bp.com
Subject:               RE: Class Counsel's Response to BP's Comments to the Proposed Supplemental Information
                       Program


Judge Shushan/Ben:

Now that Judge Barbier has issued his Order on the Matching of Revenue and Expenses, Class
Counsel would like to get the Supplemental Notice Plan implemented. I believe both sides have
provided their comments and the issue is ready for determination. Thanks for your consideration!



From: Brian Barr
Sent: Tuesday, February 19, 2013 6:44 PM
To: Sally Shushan (Sally Shushan@laed.uscourts.gov); "Ben_AIIums@laed.uscourts.gov'
Cc: Steve Herman (SHERMAN@hhklawfirm .com); Jim Roy; Godfrey, Richard C.
(rgodfrey@kirkland.com); Bloom, Wendy L. (wbloom@kirkland .com); mark.Holstein@bp.com
Subject: Class Counsel's Response to BP's Comments to the Proposed Supplemental Information
Program



Judge Shushan/Ben:

Attached is Class Counsel's memorandum in response to BP's comments on the Supplemental
Information Program. Thanks for your attention to this matter.



Brian Barr
Attorney at Law
Levin , Papantonio, Thomas, Mitchell, Echsner, Rafferty & Proctor, P.A.
316 S. Baylen Street
Pensacola, FL 32501
850-435-7044 v
850-436-6044 F




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      Case 2:10-md-02179-CJB-DPC Document 11876-12 Filed 11/20/13 Page 3 of 3

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